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                                           MEDICARE DRUG REIMBURSEMENTS: A BROKEN
                                             SYSTEM FOR PATIENTS AND TAXPAYERS


                                                                JOINT HEARING
                                                                                  BEFORE THE

                                                             SUBCOMMITTEE ON HEALTH
                                                                                     AND THE

                                                        SUBCOMMITTEE ON OVERSIGHT AND
                                                               INVESTIGATIONS
                                                                                      OF THE


                                                   COMMITTEE ON ENERGY AND
                                                          COMMERCE
                                                   HOUSE OF REPRESENTATIVES
                                                         ONE HUNDRED SEVENTH CONGRESS
                                                                                FIRST SESSION


                                                                            SEPTEMBER 21, 2001



                                                                      Serial No. 107–65

                                                 Printed for the use of the Committee on Energy and Commerce




                                                                                     (
                                           Available via the World Wide Web: http://www.access.gpo.gov/congress/house



                                                                    U.S. GOVERNMENT PRINTING OFFICE
                                            75–756CC                           WASHINGTON : 2001

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VerDate 11-MAY-2000   15:12 Mar 13, 2002   Jkt 077216   PO 00000   Frm 00001    Fmt 5011    Sfmt 5011    E:\HEARINGS\75756      pfrm09   PsN: 75756
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                                                                                      30
                                     TESTIMONY OF WILLIAM J. SCANLON, DIRECTOR, HEALTH
                                      CARE ISSUES, GENERAL ACCOUNTING OFFICE; GEORGE F.
                                      GROB, DEPUTY INSPECTOR GENERAL, DEPARTMENT OF
                                      HEALTH AND HUMAN SERVICES; AND ZACHARY T. BENTLEY,
                                      PRESIDENT, VEN-A-CARE, INC.
                                        Thank you very much, Mr. Chairman, and members of the sub-
                                     committees. I’m pleased to be here today to discuss this important
                                     issue and wish to share with you some of the work that we’ve been
                                     doing on the payment by Medicare for prescription drug coverage—
                                     the prescription drugs that it covers. We are releasing today a
                                     study that was requested in the Beneficiary Improvements and
                                     Protection Act on Medicare’s pricing of these drugs and will soon
                                     release a related study on payments for drug administration serv-
                                     ices under Medicare’s physician fee schedule.
                                        Today I’d like to provide highlights of these two studies, both of
                                     which underscore the need for payment method modifications. Our
                                     drug pricing study’s findings echo those of the Inspector General,
                                     the Justice Department, CMS and this committee’s. All reveal that
                                     Medicare’s method, as we’ve heard, for establishing drug payments
                                     is flawed. Simply put, tying Medicare’s drug payment to AWP is a
                                     recipe for inflation and excess payments.
                                        Even though AWP is often labeled a retail or sticker price, it’s
                                     not even that. A price is what a purchaser pays for a product. AWP
                                     is closer to just a number that manufacturers can specify without
                                     rules or criteria, a number not constrained by the need to have a
                                     purchaser willing to pay it.
                                        Like the Inspector General, we found that in 2001, wholesalers’
                                     catalog prices that would be available to any physician or phar-
                                     macy or supplier involved sizable discounts from the AWP. These
                                     conservative estimates of providers’ acquisition costs indicated that
                                     discounts on physician-billed drugs, mostly chemotherapy drugs,
                                     ranged from 13 to 34 percent on most drugs and in some cases
                                     were even higher. Discounts on two inhalation therapy drugs that
                                     account for three-quarters of all the drugs billed to Medicare are
                                     startling: 78 percent for one and 85 percent off of AWP for the
                                     other.
                                        Medicare’s troubling experience in terms of drug pricing is often
                                     contrasted with that of the Veterans Administration. As the VA is
                                     essentially a health care provider and not a third-party payer like
                                     Medicare, its approach cannot simply be transferred to the Medi-
                                     care program, but key elements can be emulated.
                                        The VA uses the leverage of its and other Federal purchasers’
                                     volume to secure prices that are similar to those of other volume
                                     purchasers’ market prices that someone actually pays. To accom-
                                     plish this, it uses its leverage to get verifiable data on actual mar-
                                     ket transactions to establish price schedules. Furthermore, for se-
                                     lected drugs, it has consolidated purchasing power even more and
                                     used competition to secure even lower prices.
                                        CMS is in a similar position in that it has available to it com-
                                     parable information on market prices through the Medicare drug
                                     rebate program. We are recommending that CMS assess how it can
                                     use those data to ensure that Medicare’s payments more closely re-
                                     flect market prices and to explore how competitive procurements
                                     might be effectively used.




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                                        Let me turn now to the issue of payments for drug administra-
                                     tion. As has been indicated clearly, there is widespread agreement
                                     in terms of drug pricing. Our findings are not controversial. How-
                                     ever, providers have indicated that underpayment in terms of drug
                                     administration needs to be made up for by overpayments in the
                                     drug purchase area.
                                        Our second report looks at payments for drug administration
                                     under the physician fee schedule, which include the bulk of chemo-
                                     therapy administration services provided by oncologists.
                                        In the past, we have examined the then-named HCFA’s develop-
                                     ment of the resource-based practice expense component of physi-
                                     cians’ fees. That is the part of physician fees meant to reflect the
                                     cost of operating a practice, like nursing and administrative staff,
                                     equipment, rent and utilities. We concluded then that the Agency’s
                                     basic method of computing these fees was sound. It achieves the
                                     goal laid out by the Congress; that is, to stop having the money
                                     Medicare pays physicians distributed according to what physicians
                                     historically charge for their services, and to have that money dis-
                                     tributed according to the relative amounts of resources needed to
                                     provide each service.
                                        The implementation of the revised fee schedule, though, has been
                                     controversial. Since Medicare payments in the aggregate were
                                     deemed adequate, the Congress required that the new fees be
                                     budget-neutral. Then if one specialty’s fees increased on average,
                                     some others would have to decline. Such redistributions have oc-
                                     curred, and some are quite significant. Oncology is one of the spe-
                                     cialties that gain under the new fee schedule. Its practice expense
                                     payments are 8 percent higher than they would have been if the
                                     prior method of setting fees stayed in place. However, that does not
                                     mean that we do not believe there is a problem in the way fees for
                                     services, like chemotherapy administration by nurses, are cal-
                                     culated.
                                        HCFA modified its basic method in computing payments for serv-
                                     ices delivered without direct physician involvement, which include
                                     chemotherapy administration as well as some services provided by
                                     other specialties. The modifications were intended to correct for
                                     perceived low payments for these services, and while they did in-
                                     crease payments for some, they lowered them for many others.
                                     Moreover, the modifications increased payments on average for
                                     services that did involve physicians directly. Oncology payments
                                     were more affected by these modifications, because their services
                                     not involving direct physician participation constitute a bigger
                                     share of their billings than other services. These services for
                                     oncologists are about one-third of their billings compared to 5 per-
                                     cent for all physicians.
                                        The payments for nonphysician chemotherapy administration are
                                     on average 15 percent lower than if HCFA used this basic method.
                                     On the other hand, practice expense payments for services provided
                                     by oncologists themselves are 1 percent higher because of these
                                     changes. Using the basic method, which we believe is correct, for
                                     all services would increase practice expense payments to
                                     oncologists by 6 percent.
                                        We don’t think that the HCFA’s adjustments, as I’ve indicated,
                                     were appropriate, and our study will recommend that they use the




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                                     basic methodology—that CMS use the basic methodology to deter-
                                     mine practice expense payments for all services.
                                        Oncologists have raised other concerns about the physician fee
                                     schedule, including the representativeness of data used to estimate
                                     these practice expenses and whether the data reflects current prac-
                                     tices in delivering services.
                                        We are currently conducting another study to determine how
                                     CMS can improve and update the information used to estimate
                                     practice expenses; however, what impact improved data may have
                                     on payments is uncertain. Payments are based on the differences
                                     in expenses of one specialty compared to another. Some of the data
                                     concerns raised by oncologists may apply equally well to other spe-
                                     cialties so that additional and many current data may reveal that
                                     the relative cost of different specialty services would only change
                                     modestly.
                                        Overall, let me say in conclusion, we believe that it should be a
                                     principle of Medicare payment policy to pay for each service appro-
                                     priately and not to rely on overpayments for some to offset inad-
                                     equate payments for others. An efficiently operated Medicare pro-
                                     gram needs payments that reflect market prices so that it benefits
                                     from the discipline imposed by other payers. It also needs to judi-
                                     ciously use the buying power associated with its size to secure even
                                     greater efficiencies, though that must be balanced with its respon-
                                     sibilities to assure access for beneficiaries and to treat providers
                                     fairly.
                                        Thank you very much, Mr. Chairman. I’ll answer any questions
                                     you have.
                                        [The prepared statement of William J. Scanlon follows:]
                                       PREPARED STATEMENT OF WILLIAM J. SCANLON, DIRECTOR, HEALTH CARE ISSUES,
                                                     UNITED STATES GENERAL ACCOUNTING OFFICE
                                       Messrs. Chairmen and Members of the Subcommittees: I am pleased to be here
                                     as you discuss the pricing of Medicare’s part B-covered prescription drugs. The pric-
                                     ing of these drugs—largely drugs that cannot be administered by patients them-
                                     selves—has been under scrutiny for several years. Most of the part B drugs with
                                     the highest Medicare payments and billing volume fall into three categories: those
                                     that are billed for by physicians and typically provided in a physician office setting
                                     (such as chemotherapy drugs),1 those that are billed for by pharmacy suppliers and
                                     administered through a durable medical equipment (DME) item (such as a res-
                                     piratory drug given in conjunction with a nebulizer 2), and those that are also billed
                                     by pharmacy suppliers but are patient-administered and covered explicitly by stat-
                                     ute.3 Studies by the Department of Justice, the Department of Health and Human
                                     Services’ (HHS) Office of the Inspector General (OIG), and the House Committee on
                                     Commerce show that Medicare’s payment for these drugs in some cases is signifi-
                                     cantly higher than the actual costs to the physicians and other providers who bill
                                     Medicare for these products.
                                       In September 2000, the Health Care Financing Administration (HCFA)—now the
                                     Centers for Medicare and Medicaid Services (CMS) 4—took steps to reduce Medi-
                                     care’s payment for part B-covered drugs by authorizing Medicare carriers, the con-
                                     tractors that pay part B claims, to use prices obtained in the Justice Department
                                     investigations of providers’ drug acquisition costs. HCFA retracted this authority in
                                     November 2000 following concerns raised by providers. In December 2000, as part

                                       1 In the case of chemotherapy drugs, the common practice is for a nurse to provide the services
                                     to administer the drug and for the physician to bill Medicare accordingly.
                                       2 A nebulizer is a device driven by a compressed air machine. It allows the patient to take
                                     medicine in the form of a mist (wet aerosol).
                                       3 Medicare-covered drugs and biologicals that can be self-administered include such drugs as
                                     blood clotting factors and some oral drugs used in association with cancer treatment and im-
                                     munosuppressive therapy.
                                       4 Our statement refers to HCFA when discussing actions it took under that name.




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                                                                                      33
                                     of recent Medicare legislation,5 the Congress asked us to study Medicare’s payments
                                     for part B-covered drugs and make recommendations for pricing methodology refine-
                                     ments. We have reported our findings and made recommendations, as mandated,
                                     today. 6
                                       My remarks today will focus on (1) Medicare payment policies to cover part B-
                                     covered drug costs and costs of administering the drugs and (2) key features of other
                                     payers’ reimbursement policies that suggest opportunities to improve the appro-
                                     priateness of Medicare’s payments. My comments are based primarily on our study
                                     of Medicare payments for part B-covered drugs and a forthcoming study of physi-
                                     cians’ practice expense payments under Medicare’s fee schedule.
                                       In summary, our study shows that Medicare’s method for establishing drug pay-
                                     ments is flawed. Medicare pays 95 percent of the average wholesale price (AWP),
                                     which, despite its name, may be neither an average nor what wholesalers charge.
                                     It is a price that manufacturers derive using their own criteria; there are no re-
                                     quirements or conventions that AWP reflect the price of any actual sale of drugs
                                     by a manufacturer. Manufacturers report AWPs to organizations that publish them
                                     in drug price compendia, and Medicare carriers that pay claims for part B drugs
                                     base providers’ payments on the published AWPs.
                                       We found that, in 2001, widely available prices at which providers could purchase
                                     drugs were substantially below AWP, on which Medicare payments are based. For
                                     both physician-billed drugs and pharmacy supplier-billed drugs, Medicare payments
                                     often far exceeded widely available prices. Despite concerns about what discounts
                                     may be available to smaller-volume purchasers, physicians who billed Medicare for
                                     low volumes of drugs reported receiving discounts from AWP, for most drugs, that
                                     were similar to or greater than those afforded by the widely available prices we doc-
                                     umented.
                                       Physicians and pharmacy suppliers contend that the excess payments for covered
                                     drugs are necessary to offset what they claim to be inappropriately low or no Medi-
                                     care payments for services related to the administration or delivery of these drugs.
                                     For administering physician-billed drugs, Medicare makes explicit payments under
                                     the physician fee schedule. Our forthcoming review of practice expense payments
                                     under the fee schedule will make several points regarding oncologists’ payments. It
                                     will show that Medicare’s payments to these specialists were 8 percent higher than
                                     they would have been if the program’s prior payment method had remained in place
                                     and will show that oncologists’ payments relative to their estimated practice ex-
                                     penses were close to the average for all specialists. However, we will also show that
                                     HCFA made questionable modifications to its basic method of setting practice ex-
                                     pense payments, which resulted in lowering the average fees paid for the adminis-
                                     tration of drugs by physicians’ staffs.
                                       For delivering pharmacy supplier-billed drugs, Medicare’s payment policies are
                                     uneven. Pharmacy suppliers billing Medicare receive a dispensing fee for one drug
                                     type—inhalation therapy drugs—but there are no similar payments for other DME-
                                     administered or oral drugs. However, Medicare pays DME suppliers for the rental
                                     or purchase of equipment and supplies, and long-standing problems in the program’s
                                     payments for these items may result in overpayments that implicitly compensate for
                                     some service delivery costs not covered.
                                       Other payers and purchasers, such as health plans and the Department of Vet-
                                     erans Affairs (VA), employ different approaches in paying for or purchasing drugs
                                     that may be instructive for Medicare. In general, they make use of the leverage from
                                     their volume and competition to secure better prices. The federal purchasers, fur-
                                     thermore, use that leverage to secure verifiable data on actual market transactions
                                     to establish their price schedules. Private payers’ practices—such as negotiating
                                     prices that result in selecting certain products or suppliers and arriving at terms
                                     without open competition—would not be easily adaptable to Medicare, given the pro-
                                     gram’s size and need to ensure access for providers and beneficiaries. How other fed-
                                     eral agencies have exercised their leverage may offer more applicable lessons.
                                                                                 BACKGROUND

                                       The traditional Medicare program does not have a comprehensive outpatient pre-
                                     scription drug benefit, but under part B (which covers physician and other out-
                                     patient services), it covers roughly 450 pharmaceutical products and biologicals. 7 In

                                       5 The Medicare, Medicaid, and SCHIP Benefits Improvement and Protection Act of 2000 (P.L.
                                     106-554, Appendix F).
                                       6 Medicare: Payments for Covered Outpatient Drugs Exceed Providers’ Costs (GAO-01-1118,
                                     Sept. 21, 2001.)
                                       7 For the remainder of this statement, we will refer to ‘‘drugs and biologicals’’ as ‘‘drugs.’’




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                                                                                      34
                                     1999, spending for Medicare part B-covered prescription drugs totaled almost $4 bil-
                                     lion. 8
                                     Small Number of Products Accounts for Largest Shares of Program Spending and
                                          Claims Volume
                                        A small number of products accounts for the majority of Medicare spending and
                                     billing volume for part B drugs. In 1999, 35 drugs accounted for 82 percent of Medi-
                                     care spending and 95 percent of the claims volume for these products. 9 The 35 prod-
                                     ucts included, among others, injectible drugs to treat cancer, inhalation therapy
                                     drugs, and oral immunosuppressive drugs (such as those used to treat organ trans-
                                     plant patients).
                                        The physician-billed drugs accounted for the largest share of program spending,
                                     while pharmacy supplier-billed drugs constituted the largest share of the billing vol-
                                     ume. Three specialties—hematology oncology, medical oncology, and urology—sub-
                                     mitted claims for 80 percent of total physician billings for part B drugs. Two inhala-
                                     tion therapy drugs accounted for 88 percent of the Medicare billing volume for phar-
                                     macy-supplied drugs administered in a patient’s residence. 10
                                     Medicare Payments for Drugs Are Based on Published AWPs
                                        Medicare’s payment for part B-covered drugs is based on the product’s AWP,
                                     which is a price assigned by the product’s manufacturer and may be neither ‘‘aver-
                                     age’’ nor ‘‘wholesale.’’ Instead, the AWP is often described as a ‘‘list price,’’ ‘‘sticker
                                     price,’’ or ‘‘suggested retail price.’’
                                        The term AWP is not defined in law or regulation, so the manufacturer is free
                                     to set an AWP at any level, regardless of the actual price paid by purchasers. Manu-
                                     facturers periodically report AWPs to publishers of drug pricing data, such as the
                                     Medical Economics Company, Inc., which publishes the Red Book, and First Data
                                     Bank, which compiles the National Drug Data File. In paying claims, Medicare car-
                                     riers use published AWPs to determine Medicare’s payment amount, which is 95
                                     percent of AWP. 11 Thus, given the latitude manufacturers have in setting AWP,
                                     these payments may be unrelated to market prices that physicians and suppliers
                                     actually pay for the products.
                                     Drug Supply Chain Involves Multiple Parties and Arrangements That Influence the
                                          Net Price to the End Purchaser
                                        The actual price that providers pay for Medicare part B drugs is often not trans-
                                     parent. Physicians and suppliers may belong to group purchasing organizations
                                     (GPO) that pool the purchasing of multiple entities to negotiate prices with whole-
                                     salers or manufacturers. GPOs may negotiate different prices for different pur-
                                     chasers, such as physicians, suppliers, or hospitals. In addition, providers can pur-
                                     chase part B-covered drugs from general or specialty pharmaceutical wholesalers or
                                     can have direct purchase agreements with manufacturers.
                                        Certain practices involving these various entities can result in prices paid at the
                                     time of sale that do not reflect the final net cost to the purchaser. Manufacturers
                                     or wholesalers may offer purchasers rebates based on the volume of products pur-
                                     chased not in a single sale but over a period of time. Manufacturers may also estab-
                                     lish ‘‘chargeback’’ arrangements for end purchasers, which result in wholesalers’
                                     prices overstating what those purchasers pay. Under these arrangements, the pur-
                                     chaser negotiates a price with the manufacturer that is lower than the price the
                                     wholesaler charges for the product. The wholesaler provides the product to the pur-
                                     chaser for the lower negotiated price, and the manufacturer then pays the whole-
                                     saler the difference between the wholesale price and the negotiated price.

                                        8 Spending is defined as Medicare’s total payment, of which Medicare’s share is 80 percent and
                                     the beneficiaries’ share is 20 percent.
                                        9 Our analysis excluded some high-volume and high-expenditure drugs because of inadequate
                                     pricing data. Volume for a drug is measured in terms of the number of units provided. Analyses
                                     exclude data on services supplied in Puerto Rico and the U.S. Virgin Islands and exclude pay-
                                     ments made on behalf of Railroad Retirement Board beneficiaries.
                                        10 These two drugs are ipratropium bromide and albuterol (unit dose form).
                                        11 Technically, the payment equals 95 percent of AWP for the drugs grouped under each HCFA
                                     Common Procedure Coding System (HCPCS) code. Individual drugs are identified by the Na-
                                     tional Drug Code (NDC). NDCs are assigned by the Food and Drug Administration and are the
                                     universal product identifiers for drugs for human use. Each NDC specifies a chemical entity,
                                     manufacturer, dosage form, strength, and package size. For example, a single drug—marketed
                                     by one manufacturer in one form and strength but in three package sizes—would have three
                                     NDCs. Because one HCPCS code may have multiple NDCs, the carriers determine the Medicare
                                     payment by analyzing multiple NDCs’ AWPs. For multisource drugs, the payment allowance is
                                     95 percent of the lower of (1) the median AWP of all generic forms of the drug or (2) the lowest
                                     brand name product’s AWP.




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                                           MEDICARE’S PAYMENT FOR PART B-COVERED DRUGS IS SIGNIFICANTLY HIGHER THAN
                                                            PRICES WIDELY AVAILABLE TO PROVIDERS

                                        For the part B-covered drugs accounting for the bulk of Medicare spending and
                                     claims, Medicare payments in 2001 were almost always considerably higher than
                                     wholesalers’ prices that were widely available to physicians and suppliers. This was
                                     true regardless of whether the drugs had competing products or were available from
                                     a single manufacturer. Physicians who billed Medicare for relatively small quan-
                                     tities of these drugs also obtained similar prices.
                                     Wide Disparities Exist Between Drug Acquisition Costs and Medicare Payments
                                        Our study shows that there can be wide disparities between a drug’s estimated
                                     acquisition cost and Medicare’s payment for that drug. Physician-billed drugs ac-
                                     count for the bulk of Medicare spending on part B drugs. Of those billed by physi-
                                     cians, drugs used to treat cancer accounted for most of Medicare’s expenditures.
                                     Specifically:
                                     • Widely available discounts for 17 of the physician-billed drugs we examined aver-
                                          aged between 13 percent and 34 percent less than AWP.
                                     • For two other physician-billed drugs, Dolasetron mesylate and Leucovorin cal-
                                          cium, average discounts were considerably larger—65 percent and 86 percent
                                          less than AWP.
                                        The discounts on physician-billed drugs, based on wholesaler and GPO catalogue
                                     prices, are notably lower than Medicare’s payment, which reflects a discount of 5
                                     percent below AWP. The discounts indicate that Medicare’s payments for these
                                     drugs were at least $532 million higher than providers’ acquisition costs in 2000.
                                     Further, the discounts we report may only be the starting point for additional dis-
                                     counts provided to certain purchasers, as chargebacks, rebates, and other discounts
                                     may drive down the final sale price.
                                        Concerns have been expressed that small providers either could not or do not ob-
                                     tain such favorable prices. Therefore, we surveyed a sample of physicians who billed
                                     Medicare for low volumes of chemotherapy drugs to see if they were able to obtain
                                     similar discounts. 12 All of the low-volume purchasers who responded to our survey
                                     reported obtaining similar or better discounts than the widely available prices we
                                     had documented. More than one-third of these physicians reported belonging to
                                     GPOs and obtained the GPOs’ substantial discounts, while others said they had con-
                                     tracts with manufacturers and wholesalers.
                                        As with physician-billed drugs, Medicare’s payments for pharmacy supplier-billed
                                     drugs generally far exceeded the prices available to these suppliers. For the drugs
                                     we examined, Medicare’s payments were at least $483 million more than what the
                                     suppliers paid in 2000. Further, the discounts we report were largest for products
                                     that could be obtained from more than one source. Inhalation therapy drugs admin-
                                     istered through DME and oral immunosuppressive drugs represent most of the
                                     high-expenditure, high-volume drugs billed to Medicare by suppliers. Specifically:
                                     • Two drugs, albuterol and ipratropium bromide, used with DME for respiratory
                                          conditions, account for most of the pharmacy-supplied drugs paid for by Medi-
                                          care. In 2001, they were available to pharmacy suppliers at prices that aver-
                                          aged, respectively, 85 percent and 78 percent less than AWP.
                                     • Other high-volume DME-administered drugs had prices averaging 69 percent and
                                          72 percent less than AWP. These findings are consistent with prior studies of
                                          the prices of similar drugs. 13
                                     • Two of the four high-volume oral immunosuppressives were available from whole-
                                          salers with average discounts of 14 percent and 77 percent. Wholesale price in-
                                          formation on the other two was not available, but retail prices from online phar-
                                          macies were as much as 13 percent and 8 percent below AWP.
                                     Policies to Pay for Related Delivery and Administration Services Vary by Provider
                                        Medicare payment policies for administering or delivering a drug vary, depending
                                     on who provides the drug to the patient. Physicians are compensated directly for
                                     drug administration through the physician fee schedule. Pharmacy suppliers are
                                     compensated for dispensing inhalation therapy drugs used with a nebulizer, which
                                     make up the majority of their part B drug claims. No explicit payments are made
                                     to pharmacy suppliers for dispensing other drugs, but they may receive payments
                                     for equipment and supplies associated with DME-administered drugs. Both physi-

                                       12 We conducted a telephone survey of a sample of physicians who billed Medicare for a low-
                                     volume of cancer treatment drugs in 1999. For more detail, see GAO-01-1118.
                                       13 Medicare Reimbursement of Albuterol (HHS OIG, OEI-03-00-00311, June 2000) and Medi-
                                     care Reimbursement of Prescription Drugs (HHS OIG, OEI-03-00-00310, Jan. 2001).




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                                     cians and pharmacy suppliers contend that the excess in Medicare’s payments for
                                     part B-covered drugs compensates for related service costs inadequately reimbursed
                                     or not explicitly covered at all.
                                        In prior work on the Medicare physician fee schedule, we concluded that the agen-
                                     cy’s basic method of computing practice expense payments to physicians was
                                     sound. 14 The implementation of this fee schedule, however, has been controversial.
                                     The Congress required that payments be budget neutral relative to prior spending.
                                     Medicare’s physician payments were, in the aggregate, seemingly adequate, as most
                                     physicians were participating in Medicare and accepting the program’s fees as pay-
                                     ment in full. Because of the budget neutrality requirement, if one specialty’s fees
                                     increased on average, some others would have to decline. Such redistributions have
                                     occurred and some are significant.
                                        Oncologists, who represent the majority of physicians billing for drugs, argue that
                                     Medicare’s payments for administering chemotherapy are inappropriately low and
                                     that the excess Medicare drug payments are needed to offset their losses. Yet oncol-
                                     ogy is one of the specialties to gain under the resource-based physician fee schedule.
                                     In our separate study on physicians’ practice expenses under Medicare’s fee sched-
                                     ule, we will show that payments to oncologists were 8 percent higher than they
                                     would have been if the prior charge-based payment method had been maintained;
                                     the study will also show that oncologists’ payments relative to their estimated prac-
                                     tice expenses, which include chemotherapy administration, were close to the average
                                     for all specialties.
                                        While oncologists do not appear disadvantaged overall under the fee schedule, ad-
                                     justments HCFA made to the basic method of computing payments reduced fees for
                                     some oncologists’ services. In those adjustments, HCFA modified the basic method
                                     in computing payments for services delivered without direct physician involvement,
                                     like much of chemotherapy administration. The modifications were intended to cor-
                                     rect for perceived low payments for these services. While they increased payments
                                     for some of these services, they lowered them for many others. Moreover, they in-
                                     creased payments on average for services involving physicians. Oncology payments
                                     were particularly affected, as services without physician involvement constitute
                                     about one-third of oncologists’ Medicare-billed services, compared to about 5 percent
                                     of all physician-billed services. Because of the modifications to the basic method, on-
                                     cology practice expense payments for nonphysician chemotherapy administration
                                     were on average 15 percent lower, while payments for physician-administered serv-
                                     ices were 1 percent higher, than if HCFA had used the basic method. Across all
                                     services, the modifications resulted in oncology practice expense payments that were
                                     6 percent lower. 15 Using the basic method for all services would eliminate these re-
                                     ductions and add about $31 million to oncology payments. Our study will rec-
                                     ommend that CMS revert to the use of the basic methodology to determine practice
                                     expense payments for all services.
                                        We will also recommend that CMS address a data adjustment it made that affects
                                     oncology payments under the new fee schedule. The agency reduced oncology’s re-
                                     ported supply expenses to keep from paying twice for drugs that are reimbursed
                                     separately by Medicare. Oncologists acknowledge that the supply expense estimate
                                     needed to be reduced, but argue that the reduction was too large. We have rec-
                                     ommended that the agency develop the appropriate data to more accurately esti-
                                     mate oncology supply expenses. Substituting a supply expense estimate based on a
                                     methodology developed by the American Society of Clinical Oncology would raise
                                     practice expense payments an additional $20 million,16 if done in conjunction with
                                     our recommendation to use the basic method to calculate payments for all services.
                                        Oncologists have raised concerns about whether the data used to estimate their
                                     practice expenses constituted a representative sample of practices surveyed and
                                     whether these data reflect current practices in delivering services. How improve-
                                     ments in the data to estimate practice expenses may affect payment levels is uncer-
                                     tain. Payments are based on the differences in expenses of services of one specialty
                                     compared to those of others. Some of the data concerns raised by oncologists may
                                     apply to other specialties as well, so that additional and more current data may re-
                                     veal that the relative cost of one service compared to others may have changed only

                                        14 Practice expenses constitute one of three components in Medicare’s physician fee schedule.
                                     The other two are work and malpractice expenses. For the physician’s average fee in 1999, prac-
                                     tice expenses accounted for about 42 percent; work, about 55 percent; and malpractice, about
                                     3 percent.
                                        15 The source for these figures is our analysis of 2001 practice expense fees, based on 1999
                                     Medicare utilization.
                                        16 The source for these figures is our analysis of 2001 practice expense fees, based on 1999
                                     Medicare utilization.




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                                     modestly. We are conducting a separate study to determine how CMS can improve
                                     and update the information used to estimate specialties’ practice expenses.
                                        Similar to the physicians who bill for part B drugs, pharmacy suppliers and their
                                     representatives contend that the margin on the Medicare drug payment is needed
                                     to compensate them for costs not covered by Medicare—that is, the clinical, adminis-
                                     trative, and other labor costs associated with delivering the drug. These include
                                     costs for billing and collection; facility and employee accreditation; licensing and cer-
                                     tifications; and providing printed patient education materials. Medicare pays a dis-
                                     pensing fee of $5.00 for inhalation therapy drugs used with a nebulizer, which are
                                     the vast majority of the pharmacy-supplied drugs. This fee was instituted in 1994.
                                     It is higher than dispensing fees paid by pharmacy benefit managers, which average
                                     around $2.00, and is comparable to many state Medicaid programs, which range
                                     from $2.00 to over $6.00. For other pharmacy-supplied drugs, Medicare makes no
                                     explicit payment for dispensing the drug.
                                        Besides the profits on the DME-related drugs, pharmacy suppliers may receive
                                     additional compensation through the payment for DME and related supplies. Our
                                     prior work suggests that, for two reasons, Medicare DME and supply payments may
                                     exceed market prices. 17 First, because of an imprecise coding system, Medicare car-
                                     riers cannot determine from the DME claims they process which specific products
                                     the program is paying for. Medicare pays one fee for all products classified under
                                     a single billing code, regardless of whether their market prices are greatly below or
                                     above that fee. 18 Second, DME fees are often out of line with current market prices.
                                     Until recently, DME fees had generally been adjusted only for inflation because the
                                     process required to change the fees was lengthy and cumbersome. As a result, pay-
                                     ment levels may not reflect changes in technology and other factors that could sig-
                                     nificantly change market prices.
                                           OTHER PURCHASERS’ PRACTICES ARE INSTRUCTIVE FOR REFORMING MEDICARE’S
                                                       METHOD OF PAYING FOR PART B-COVERED DRUGS

                                       Private insurers and federal agencies, such as VA, employ different approaches
                                     in paying for or purchasing drugs that may provide useful lessons for Medicare. In
                                     general, these payers make use of the leverage of their volume and competition to
                                     secure better prices. The federal purchasers, furthermore, use that leverage to se-
                                     cure verifiable data on actual market transactions to establish their price schedules.
                                     Private payers can negotiate with some suppliers to the exclusion of others and ar-
                                     rive at terms without clear criteria or a transparent process. This practice would
                                     not be easily adaptable to Medicare, given the program’s size and need to ensure
                                     access for providers and beneficiaries. How other federal agencies have exercised
                                     their leverage may be more instructive and readily adaptable for Medicare.
                                       VA and certain other government purchasers buy drugs based on actual prices
                                     paid by private purchasers—specifically, on the prices that drug manufacturers
                                     charge their ‘‘most-favored’’ private customers. 19 In exchange for being able to sell
                                     their drugs to state Medicaid programs, manufacturers agree to offer VA and other
                                     government purchasers drugs at favorable prices, known as Federal Supply Sched-
                                     ule (FSS) prices. So that VA can determine the most-favored customer price, manu-
                                     facturers provide information on price discounts and rebates offered to domestic cus-
                                     tomers and the terms and conditions involved, such as length of contract periods
                                     and ordering and delivery practices. 20 (Manufacturers must also be willing to supply
                                     similar information to CMS to support the data on the average manufacturer’s
                                     price, known as AMP, and best price they report for computing any rebates required
                                     by the Medicaid program.)
                                       VA has been successful in using competitive bidding to obtain even more favorable
                                     prices for certain drugs. Through these competitive bids, VA has obtained national
                                     contracts for selected drugs at prices that are even lower than FSS prices. These

                                        17 See Medicare: Need to Overhaul Costly Payment System for Medical Equipment and Sup-
                                     plies (GAO/HEHS-98-102, May 12, 1998).
                                        18 The equipment and supply payment is determined from a DME fee schedule, whose rates
                                     are based on a state-specific fee schedule and subject to national minimum and maximum pay-
                                     ment limits. Fees are based on average historical supplier charges that are adjusted for inflation
                                     over time.
                                        19 Under federal procurement regulations, the government seeks to obtain the price is in-
                                     tended to equal or better the price that the manufacturer offers its most-favored nonfederal cus-
                                     tomer under comparable terms and conditions.
                                        20 Because the terms and conditions of commercial sales vary, there may be legitimate reasons
                                     why the government does not always obtain the most-favored customer price. Hence, under the
                                     regulations, VA may accept a higher price if it determines that (1) the price offered to the gov-
                                     ernment is fair and reasonable and (2) awarding the contract is otherwise in the best interest
                                     of the government.




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                                     contracts seek to concentrate the agency’s purchase on one drug within therapeuti-
                                     cally equivalent categories for the agency’s national formulary. In 2000, VA contract
                                     prices averaged 33 percent lower than corresponding FSS prices.
                                       Medicare’s use of competition has been restricted to several limited-scale dem-
                                     onstration projects authorized by the Balanced Budget Act of 1997. In one of these
                                     demonstrations under way in San Antonio, Texas, suppliers bid to provide nebulizer
                                     drugs, such as albuterol, to Medicare beneficiaries. While Medicare normally allows
                                     any qualified provider to participate in the program, under the demonstration only
                                     11 bidders for nebulizer drugs were selected to participate. In exchange for restrict-
                                     ing their choice of providers to the 11 selected, beneficiaries are not liable for any
                                     differences between what suppliers charge and what Medicare allows. Preliminary
                                     CMS information on the San Antonio competitive bidding demonstration suggests
                                     no reported problems with access and a savings of about 26 percent realized for the
                                     inhalation drugs.
                                                                        CONCLUDING OBSERVATIONS

                                       Our study on Medicare payments for part B drugs shows that Medicare pays pro-
                                     viders much more for these drugs than necessary, given what the providers likely
                                     paid to purchase these drugs from manufacturers, wholesalers, or other suppliers.
                                     Unlike the market-based fees paid by VA and other federal agencies, Medicare’s fees
                                     are based on AWP, which is a manufacturer-reported price that is not based on ac-
                                     tual transactions between seller and purchaser. Physicians contend that the profits
                                     they receive from Medicare’s payments for part B drugs are needed to compensate
                                     for inappropriately low Medicare fees for most drug administration services. Simi-
                                     larly, the case argued by some pharmacy suppliers for Medicare’s high drug pay-
                                     ments is that not all of their costs of providing the drugs are covered.
                                       In our view, it should be a principle of Medicare payment policy to pay for each
                                     service appropriately and not to rely on overpayments for some services to offset in-
                                     adequate payments for complementary services. If Medicare were to follow this prin-
                                     ciple and lessons from other payers in setting fees for part B drugs, it would use
                                     information on actual market prices net of rebates and discounts—similar to infor-
                                     mation currently available to VA and CMS—to establish Medicare payments. It
                                     could also determine market-based fees, where appropriate, through a competitive
                                     bidding process. Medicare would pay for administration and delivery of these drugs
                                     separately, as it does currently for drugs supplied by physicians and for inhalation
                                     therapy drugs. As the way drugs are supplied and administered varies, different
                                     methods of determining payments would be necessary. Paying for these services ex-
                                     plicitly would enable Medicare to eliminate implicit payments that may have been
                                     made through excessive payments for DME and the drugs associated with the DME
                                     payment. In our report, we make recommendations reflecting these lessons to revise
                                     the program’s payment methods.
                                       Messrs. Chairmen, this concludes my statement. I would be happy to answer any
                                     questions that you or Subcommittee Members may have.
                                                                    CONTACT AND ACKNOWLEDGMENTS

                                       For more information regarding this testimony, please contact me at (202) 512-
                                     7114 or Laura Dummit at (202) 512-7119. Other contributors to this statement in-
                                     clude Carol Carter, Iola D’Souza, Hannah Fein, Kathryn Linehan, and James Mat-
                                     hews.
                                      Mr. GREENWOOD. Thank you, Mr. Scanlon, for your testimony.
                                      And I recognize Mr. Grob, the Deputy Inspector General for
                                     Health and Human Services, for your testimony, sir.
                                                              TESTIMONY OF GEORGE F. GROB
                                        Mr. GROB. Thank you, Mr. Chairman, for the opportunity to tes-
                                     tify here today. Everyone said Medicare pays too much, and listen-
                                     ing to all the opening statements, I’m not sure that I have a whole
                                     lot to add to the knowledge that has already been presented.
                                        Mr. GREENWOOD. I’m sure you have more credibility than we do.
                                        Mr. GROB. What I’ll try to do, perhaps, is to add some additional
                                     pieces of information that may help. First of all, with regard to the
                                     amount that we pay too much, the number that is being bandied
                                     around is about a billion dollars, and I think that is a fair bottom




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